                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                              CIVIL NO. 5:12CV169-RLV
                                  (5:03CR4-RLV-20)

PHILLIP TYRONE MORRISON,            )
                                    )
                        Petitioner, )
                                    )
            vs.                     )                        ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                        Respondent. )
___________________________________ )

        THIS MATTER is before the Court on its own motion with regard to Petitioner’s

Motion to Vacate, Set Aside, or Correct Sentence filed under 28 U.S.C. § 2255, (Doc. No. 1),

and on Respondent’s Motion for an Extension of Time to File a Response to Petitioner’s Motion

to Vacate, (Doc. No. 9). For the reasons that follow, the Court finds that this is an unauthorized,

successive petition, and the Court therefore dismisses the Motion to Vacate. Because the Court

is dismissing the motion to vacate, the Court will deny Respondent’s motion for extension of

time as moot.

   I.      BACKGROUND

        On July 22, 2004, Petitioner was convicted after a jury trial of conspiracy to possess with

intent to distribute cocaine and cocaine base, in violation of 28 U.S.C. §§ 846, 851; possessing

with intent to distribute cocaine base and aiding and abetting, in violation of 21 U.S.C. §§ 841,

851, and 18 U.S.C. § 2; and using and carrying a firearm during and in relation to a drug

trafficking crime and aiding and abetting, in violation of 18 U.S.C. §§ 924(c), 2. (Crim. Case

No. 5:03-cr-4-20, Doc. No. 365: Jury Verdict; Doc. No. 477: Judgment). Petitioner was

sentenced to life on each of Counts One and Six, to be served concurrently, and sixty months




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imprisonment on Count Seven, to be served consecutively to Counts One and Six, for a total

term of life plus sixty months imprisonment. (Id., Doc. No. 477: Judgment). On July 19, 2006,

the Fourth Circuit Court of Appeals affirmed Petitioner’s conviction and sentence. United States

v. Martinez, 190 Fed. App’x 321 (4th Cir. 2006).

         On August 13, 2007, Petitioner filed a Section 2255 motion to vacate, which this Court

denied and dismissed on September 7, 2010. (Crim. Case No. 5:03-cr-4-20, Doc. Nos. 737; 859:

Civil No. 5:07-cv-90). On November 7, 2012, the Fourth Circuit dismissed Petitioner’s appeal

of the Court’s Order denying the motion to vacate. United States v. Morrison, 487 Fed. App’x

104 (4th Cir. 2012).

         On November 8, 2012, Petitioner filed the pending Section 2255 motion to vacate. (Doc.

No. 3). Along with the motion to vacate, Petitioner sought alternative relief under 28 U.S.C. §

2241, and under the writs of error coram nobis and audita querela. On November 13, 2012, after

conducting an initial screening, this Court ordered the Government to respond to the pending

motion to vacate and Petitioner’s alternative claims for relief. (Doc. No. 4). On January 23

2013, Petitioner voluntarily dismissed his claims for alternative relief, thus leaving only the

Section 2255 motion to vacate. On February 19, 2013, Respondent filed a motion for extension

of time to file a response, which motion is pending before this Court. (Doc. No. 9).

   II.      DISCUSSION

         Petitioner filed the instant Motion to Vacate on November 8, 2012, seeking to have the

Court vacate his conviction and sentence in Criminal Case No. 5:03-cr-4-20. As noted,

Petitioner filed a previous motion to vacate the same conviction and sentence on August 13,

2007. Thus, this is the second Section 2255 petition filed by Petitioner challenging the

conviction and sentence in Criminal Case No. 5:03-cr-4-20.




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          Pursuant to 28 U.S.C. § 2244(b)(3)(A), “[b]efore a second or successive application

permitted by this section is filed in the district court, the applicant shall move in the appropriate

court of appeals for an order authorizing the district court to consider the application.” Thus,

Petitioner must first obtain an order from the Fourth Circuit before this Court will consider any

second or successive petition under 28 U.S.C. § 2255. Petitioner has not shown that he has

obtained the permission of the Fourth Circuit to file a successive petition. See also 28 U.S.C. §

2255(h) (stating that “[a] second or successive motion must be certified as provided in section

2244 by a panel of the appropriate court of appeals”). Accordingly, this unauthorized,

successive petition must be dismissed. See Burton v. Stewart, 549 U.S. 147, 153 (2007) (holding

that failure of petitioner to obtain authorization to file a “second or successive” petition deprived

the district court of jurisdiction to consider the second or successive petition “in the first place”).

Accord Everette v. United States, 5:04-cv-358, 2012 WL 4486107 (E.D.N.C. Sept. 28, 2012)

(dismissing a § 2255 motion as a successive petition where the petitioner raised a claim under

United States v. Simmons, 649 F.3d 237 (4th Cir. 2011)).

   III.      CONCLUSION

          For the foregoing reasons, the Court will dismiss Petitioner’s Section 2255 Motion to

Vacate for lack of jurisdiction because the motion is a successive petition and Petitioner has not

first obtained permission from the Fourth Circuit to file the motion. Because Petitioner has

voluntarily dismissed his alternative claims for relief, this entire action will be dismissed.

          IT IS, THEREFORE, ORDERED that:

          1. Petitioner’s Motion to Vacate, (Doc. No. 1), is DISMISSED as a successive petition.

             Because Petitioner has voluntarily dismissed his alternative claims for relief, this

             entire action is DISMISSED.




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2. Respondent’s Motion for Extension of Time, (Doc. 9), is DENIED as moot.

3. IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

   Section 2254 and Section 2255 Cases, this Court declines to issue a certificate of

   appealability. See 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 338

   (2003) (in order to satisfy § 2253(c), a petitioner must demonstrate that reasonable

   jurists would find the district court’s assessment of the constitutional claims debatable

   or wrong); Slack v. McDaniel, 529 U.S. 473, 484 (2000) (when relief is denied on

   procedural grounds, a petitioner must establish both that the dispositive procedural

   ruling is debatable and that the petition states a debatable claim of the denial of a

   constitutional right).



                                 Signed: February 21, 2013




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